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    NOT FOR PUBLICATION
                                    UNITED STATES DISTRICT COURT
                                       DISTRICT OF NEW JERSEY

         TRICON ENTERPRISES, INC.,                                Civil Action No.: 2:17-cv-02168
                                 Petitioner,
              V.                                                              OPINION
         NEW JERSEY BUILDiNG LABORERS’
         STATEWIDE BENEFIT FUNDS,
                                 Respondent.
    CECCHI, District Judge.
    I.      INTRODUCTION

            This matter comes before the Court on Petitioner Tricon Enterprises, Inc.’s (“Petitioner”)

    motion to vacate an arbitration award, (ECF No. 1), and Respondent New Jersey Building

    Laborers’ Statewide Benefit Funds’ (“Respondent”) motion to confirm an arbitration award and

    cross-motion to dismiss Petitioner’s “declaratory complaint.” (ECF No. 10). The Court decides

this matter without oral argument pursuant to Rule 78(b) of the federal Rules of Civil Procedure.

For the reasons set forth below,’ the Court denies Petitioner’s motion, grants Respondent’s motion

to confirm the arbitration award, and denies Respondent’s cross-motion to dismiss Petitioner’s

“declaratory complaint” as moot.

II.         BACKGROUND

            This labor dispute arises out of an audit report issued by Respondent, which alleges that

Petitioner “failed to make fringe benefit contributions to [Respondent], which were required per

the terms of [Petitioner’s] Collective Bargaining Agreement[]” (the “CBA”)2 from January 1, 2010


1
  The Court considers any new arguments not presented by the parties to be waived. See Brenner
v. Local 514, United Bhd. of Carpenters & Joiners ofAm., 927 F.2d 1283, 1298 (3d Cir. 1991).
2
  Although the parties reference two collective bargaining agreements in their submissions, there
appears to be no dispute that the relevant collective bargaining agreement to this matter is docketed
at ECF No. 23-1. (ECF Nos. 10 at 1; 19 at 1-2 (arguing in Petitioner’s letter brief that the CBA
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   through December 31, 2012 (the “Audit Period”)
                                                      for various employees, including yard
  employees. (ECF No. 10 at 1; see also ECF No. 1 7).
                                                 ¶ Respondent seeks to confirm an arbitration
  award in the amount of $575,554.74, (ECF No. 1 21),
                                                  ¶     which upheld the findings of the audit
  report. (See generally ECF No. 10).

          Petitioner’s sole challenge to the arbitration award is
                                                                    that the arbitrator did not have the
  authority to determine whether yard employees were
                                                           covered by the CBA. (ECF No. 1-2 at 1).
 The parties agree that the CBA compels arbitration in certa
                                                                in circumstances. However, Petitioner
 contends that “the Arbitrator did not have authority to
                                                          arbitrate this dispute and issue said Award.”
 (Id.). Respondent maintains that this matter is subject
                                                            to arbitration because the language in the
 Short Form Agreements in effect during the Aud
                                                        it Period (the “SFAs”) provide that “[t]he
 permanent arbitrator appointed by the Trustees of the
                                                           funds shall decide all matters concerning
 wages and benefits including all matters of procedural
                                                            and substantive arbitrability.” (ECF No.
 10-3 at3, 4). The Court has jurisdiction under 29 U.S.
                                                          C. 185.
                                                             §
 HI      LEGAL STANDARD

         Petitioner seeks to vacate the arbitration award, whil
                                                                e Respondent seeks to confirm the
arbitration award. However, the only dispute between
                                                          the parties is whether the award exceeds
the arbitrator’s authority because the underlying matt
                                                       er was not subject to arbitration. (See ECF
No. 1 ¶ 33 (“The Arbitrator exceeded his authority and
                                                          jurisdiction in hearing this matter as the



was not intended to cover yard employees, with
                                                       no reference to the collective bargaining
agreement docketed at ECF No. 10-5)). Petitioner’s cont
                                                           ention that the Court should not consider
the CBA because it is not signed, (ECF No. 24), is with
                                                         out merit. The Short form Agreements in
effect during the Audit Period were signed by the parti
                                                        es and explicitly incorporated the CBA by
reference. (ECF No. 10-3 at 3, 4; see also ECF No.
                                                       25). There is therefore no requirement that
the CBA itself be signed. See Bd. ofTrs. ofthe mt ‘1 Unio
                                                          n ofOperating Eng ‘rs Local 825 Pension
Fund v. River Front Recycling Aggregate, LLC, No.
                                                       15-8957, 2016 WL 6804869, at *4 (D.N.J.
Nov. 16, 2016). Accordingly, the Court may properly
                                                        consider the CBA.
                                                     2
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 parties had no agreement to arbitrate this dispute[.]”)). Thus, the only issue before the Court is

 whether it was proper for the arbitrator to determine that yard employees were covered by the

 CBA.

        When determining arbitrability arising out of a collective bargaining agreement, courts are

to apply federal law contract principals to interpret the scope of that agreement, subject to any state

law defenses. See Harris v. Green Tree Fin. Corp., 183 f.3d 173, 179 (3d Cir. 1999) (citing Moses

H. Cone Mem ‘tHosp. v. Mercury Constr. Corp., 460 U.S. 1, 25 n.32 (1983)).

        The Third Circuit recognizes the strong federal policies that favor arbitration of labor

disputes. See Rite Aid ofPa., Inc. v. United Food & Commercial Workers Union, Local 1776, 595

F.3d 128, 131 (3d Cir. 2010).       Moreover, it instructs that the key principals governing any

arbitrability inquiry are that: (1) a party cannot be forced to arbitrate when it has not agreed to do

so; (2) a court may not rule on the underlying merits when determining whether a dispute is

arbitrable; and (3) when a contract contains an arbitration clause, there is a presumption that a

dispute is arbitrable unless “it may be said with positive assurance that the arbitration clause is not

susceptible of an interpretation that covers the asserted dispute.” Lukens Steel Co. v. United

Steelworkers ofAm. (AFC-CIO), 989 F.2d 668, 672 (3d Cir. 1993) (quotingAT&TTechs., Inc. v.

Commc ‘ns Workers ofAm., 475 U.S. 643, 650 (1986)). In other words, when the arbitration clause

is “broad,” doubts with respect to arbitrability “should be resolved in favor of coverage.” Id.; see

also Local 827, Int’l Bhd. ofElec. Workers, AFL-CIO v. Verizon Ni, Inc., 458 F.3d 305, 311 (3d

Cir. 2006).

        In light of these principals, the Third Circuit directs that courts should consider three

questions when assessing whether a dispute is arbitrable: “(1) Does the present dispute come

within the scope of the arbitration clause?[;] (2) does any other provision of the contract expressly

                                                      3
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exclude this kind of dispute from arbitration?[;] and (3) is there any other ‘forceful evidence’

indicating that the parties intended such an exclusion?” United Steelworkers ofAm., AFL-CiO

CLCv. Hohm &Haas Co., 522 F.3d 324, 331 (3d Cir. 2002) (citations omitted).

        District courts have very little authority to upset arbitrators’ awards.   .“[C]ourts
                                                                                       .   .


        play an extremely limited role in resolving labor disputes.” “A court may not
        overrule an arbitrator simply because it disagrees with the arbitrator’s construction
        of the contract. or because it believes its interpretation of the contract is better
                         .   .



        than that of the arbitrator.” Rather, “[a]s long as the arbitrator has arguably
        construed or applied the contract, the award must be enforced, regardless of the fact
        that a court is convinced that [the] arbitrator has committed a serious error.” Thus,
        “there must be absolutely no support at all in the record justifying the arbitrator’s
        determinations for a court to deny enforcement of an award.” “[O]nly where there
        is a manifest disregard of the agreement, totally unsupported by principles of
        contract construction and the law of the shop, may a reviewing court disturb the
        award.”

United Transp. Union Local 1589 v. Suburban Transit Corp., 51 F.3d 376, 379 (3d Cir. 1995)

(citations omitted).

IV.    DISCUSSION

       Petitioner contends that “[t]he Arbitrator exceeded his authority and jurisdiction in hearing

this matter as the parties had no agreement to arbitrate this dispute[.]”              (ECF No. 1   ¶ 33).
Respondent, in turn, argues that “[u]nder any reasonable reading of the contract operating between

the parties, during the Audit Period.   ..   [Respondent’s] audit findings, including the audit findings

relating to ‘yard work,’ are clearly arbitrable.” (ECF No. 10 at 13). As a preliminary matter, the

Court notes that Petitioner’s submissions do not address the arbitration clauses in the SfAs.

Rather, Petitioner contends that this dispute is not subject to arbitration pursuant to the CBA.

Because the CBA and $fAs were in effect during the Audit Period, the Court must consider all of

the agreements in determining whether the Arbitrator exceeded his authority.

       The Court finds that the parties’ dispute comes within the scope of the arbitration clauses

in the CBA and SFAs. There is no dispute that the parties entered into the June 18, 2007 SFA and
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the July 2, 2010 $FA. (ECF No. 10-3 at 3-4). These SFAs were in effect during the Audit Period.

(Id.). The arbitration clauses in these SFAs state that “[t]he permanent arbitrator appointed by the

Trustees of the funds shall decide all matters concerning wages and benefits including all matters

of procedural and substantive arbitrability.” (Id.). Petitioner appears to argue that as a matter of

law, the parties could not agree to arbitrate matters of substantive arbitrability. (ECF No. 1-2 at

2). The Court disagrees.

        “Generally, the ‘question of arbitrability                     .   .   .   is undeniably an issue for judicial

determination.” Jones Lang LaSalle Americas, Inc. v. Int’l Bhd. ofElec. Workers, Local 313, No.

16-190, 2017 WL 2957816, at *3 (D. Del. July 11, 2017) (quotingAT&T Techs., Inc., 475 U.S. at

649). “However, ‘U]ust as the arbitrability of the merits of a dispute depends upon whether the

parties agreed to arbitrate that dispute, so the question “who has the primary power to decide

arbitrability” turns upon what the parties agreed about that matter.” Id. (quoting First Options of

Chi., Inc. v. Kaplan, 514 U.S. 938, 943 (1995)). “Courts should not find that parties agreed to

arbitrate the question of arbitrability ‘[u]nless the parties clearly and unmistakably provide

otherwise.” Id. (citations omitted). “The burden of overcoming the presumption is onerous, as it

requires express contractual language unambiguously delegating the question of arbitrability to the

arbitrator.” Chesapeake Appalachia, LLC v. Scout Petroleum, LLC, 809 f.3d 746, 753 (3d Cir.

2016) (citations omitted).

       As the Court previously observed, the SFAs state that “[t]he permanent arbitrator appointed

by the Trustees of the funds shall decide all matters concerning wages and benefits including all

matters of procedural and substantive arbitrability.” (ECF No. 10-3 at 3-4). Petitioner’s argument

that “[t]he issue of whether Petitioner[’s]        .   .   .   yard employees are covered by the CBA between

Petitioner.   .   .   and [Respondent] is clearly not an issue that falls within the ambit of the arbitration

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clause[sJ of the [CBA],” (ECF No. 1-2 at 4), is without merit. The SFAs provisions that “all

matters concerning wages and benefits including all matters of procedural and substantive

arbitrability” are subject to arbitration, (ECF No. 10-3 at 3, 4) (emphasis added), clearly

encompasses the question of whether Petitioner was responsible for making fringe benefit

contributions for yard employees under the CBA. While the Court agrees that whether yard

employees fall within the scope of the CBA is a question of substantive arbitrability, the parties

clearly and unmistakably agreed that such matters were delegated to the arbitrator to decide.

Moreover, “once it is determined that a substantive dispute is arbitrable, normally the arbitrator

has the authority to decide all matters necessary to dispose of the claim.” Fed. Kemper Ins. Co. v.

Reager, $10 F. Supp. 150, 155 (ED. Pa. 1992) (emphasis added) (citations omitted). The SFAs’

arbitration clauses plainly apply to this dispute, especially in light of the presumption of

arbitrability. Accordingly, the Court finds Petitioner’s arguments without merit.

       Petitioner does not maintain that another provision of the CBA or $fAs expressly excludes

this dispute from arbitration. Instead, Petitioner cites to three pieces of evidence in support of the

contention that Petitioner’s “yard employees were not intended to be covered by the” CBA.3 (ECF

No. 1-2 at 1). The question before the Court, however, is not whether the yard employees were

intended to be covered by the CBA, but rather whether the arbitrator was foreclosed from

determining that they were actually covered. Petitioner presents no evidence that making such a

determination was outside the scope of the arbitrator’s authority.



 This evidence includes: (1) a letter from Edison Severino, opining that a collective bargaining
agreement not in effect during the Audit Period (the “Local 7$ CBA”) does not cover yard
employees (ECF No. 1-1 Exhibit A); (2) an affidavit from Radek Korek, declaring that the same
Local 7$ CBA not in effect during the Audit Period does not cover yard employees (id. Exhibit
D); and (3) a letter from Al Castagna, submitting that the CBA does not cover yard employees (id.
Exhibit B (which was soon thereafter retracted in a subsequent letter as discussed below)).
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        Even assuming, arguendo, that the question before the Court was whether the yard

employees were intended to be covered by the CBA, Petitioner points to no “forceful evidence”

supporting this argument. See United Steelworkers ofAm., 522 F.3d at 331. With respect to the

letter and affidavit that Petitioner submitted opining that the Local 78 CBA does not cover yard

employees, (ECF No. 1-1 Exhibits A, D), the Court notes that the Local 78 CBA was not in effect

during the Audit Period. Rather, it was the CBA at issue, not the Local 78 CBA, which governed

the parties’ relationship during this time. Moreover, although Petitioner submitted a letter from

Al Castagua opining that the CBA does not cover yard employees, Mr. Castagua sent a follow-up

letter two days later stating:

        Please be advised that I misspoke in my letter of April 27, 2016 regarding yard
        workers under the Building Laborers collective bargaining agreement. Under
        Article II, Section 2.10, under “Miscellaneous” all “yardmen, watchmen, guards,
        flagmen, the manning and servicing of all tool room,” etc. does fall within the scope
        of work covered by the collective bargaining agreement. Accordingly, please
        disregard my previous letter. I am sorry for any inconvenience this error may have
        caused you.

(Id. Exhibit C). finally, despite Petitioner’s contention that “it is clear that up until April 29, 2016,

and especially during the [A]udit [P]eriod        .   .   .   Mr. Castagna’s interpretation, practice and

application with respect to the [CBA] was that [Petitioner’s] yard work was not covered,” (ECF

No. 19 at 2), Petitioner presents no evidence supporting this statement.

       Based on the foregoing, the Court finds that the dispute was arbitrable, and will confirm

the arbitration award.4


  Respondent also filed a cross-motion to dismiss Petitioner’s “declaratory complaint.” It is
unclear to the Court whether Petitioner has requested a declaratory judgment; however, to the
extent Petitioner has made such a request, it is denied. Having found that the parties unequivocally
agreed to arbitrate both substantive and procedural disputes related to wages and benefits, the
Court need not “conduct an Evidentiary Hearing to determine whether [Petitioner’s] ‘yard’
employees are covered by the [CBA].” (ECF No. 1 at 5). Accordingly, Respondent’s cross-motion
is denied as moot. Moreover, Respondent also contends that Petitioner may be seeking a
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V.      CONCLUSION

        For the reasons set forth above, the Court denies Petitioner’s motion, grants Respondent’s

motion to confirm the arbitration award, and denies Respondent’s cross-motion to dismiss

Petitioner’s “declaratory complaint” as moot. An appropriate Order accompanies this Opinion.

DATED:        -°      I                                                           C
                                                        CLAIRE C. CECCHI, U.S.D.J.




declaratory judgment with respect to the scope of the Local 78 CBA. (ECF No. 10 at 24). Because
the Local 78 CBA is irrelevant to this matter, the Court also denies Respondent’s cross-motion on
these grounds as moot.
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